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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                 Greenbelt Division

Kilmar Armando Abrego Garcia,
Jennifer Stefania Vasquez Sura,
A.A.V., a minor, by and through his next friend
and mother, Jennifer Vasquez Sura,

       c/o Murray Osorio PLLC
       8630 Fenton Street, Suite 918,
       Silver Spring, MD 20910

       Plaintiffs,

v.                                                   Civil Action No. 8:25-cv-00951

Kristi Noem, Secretary of Homeland Security,

       Secretary of Homeland Security
       Washington, DC 20508

Todd Lyons, Acting Director, U.S. Immigration
and Customs Enforcement,
Kenneth Genalo, Acting Executive Associate
Director, ICE Enforcement and Removal
Operations,
Nikita Baker, ICE Baltimore Field Office Director,

       500 12th St., SW
       Washington, D.C. 20536

Pamela Bondi, Attorney General,

       950 Pennsylvania Avenue, NW
       Washington, DC 20530-0001

Marco Rubio, Secretary of State,

       The Executive Office of the Legal Adviser
       and Bureau of Legislative Affairs
       Suite 5.600
       600 19th Street NW
       Washington DC 20522

Defendants.
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FIRST AMENDED AND SUPPLEMENTAL COMPLAINT FOR INJUNCTIVE RELIEF
                  AND DECLARATORY JUDGMENT

       1.       Plaintiff Kilmar Armando Abrego Garcia secured an order prohibiting Defendants

from removing him to El Salvador in 2019 (the “Withholding Order”), and was released from ICE

custody on supervised release shortly thereafter. Defendants were entitled to appeal the

Withholding Order or seek to set it aside utilizing well established judicial procedures. Deterred

by the factual record and findings supporting the Order, Defendants did neither. They instead chose

lawlessness.

       2.       On March 12, 2025, in the course of an unlawful arrest, Defendants stopped the car

Plaintiff Abrego Garcia was driving with his five year old disabled U.S.-citizen child, Plaintiff

A.A.V., forcibly removed Plaintiff Abrego Garcia from the car, and threatened to have child

services take his child. Following his unlawful detention, and as detailed below Defendants

improperly removed Plaintiff Abrego to El Salvador in violation of the Withholding Order and

without due process, where he at all times remained in Defendants’ constructive custody pursuant

to arrangements between Defendants and the El Salvadorian government. During Plaintiff’s

Abrego Garcia’s unlawful two and a half month incarceration in El Salvador he was threatened

and tortured.

       3.       In response to the unlawful incarceration of Plaintiff Abrego Garcia in El Salvador

at Defendants’ direction, on April 4, 2025, the Federal District Court of Maryland (the “District

Court”) ordered the government to facilitate the release and return of Abrego Garcia. ECF No. 31.

Following Defendants’ appeal and an affirmation from the Federal Appeals Court of the Fourth

Circuit (“Fourth Circuit”), Abrego Garcia v. Noem, No, 25-2345, 2025 WL 1021113, (4th Cir.

Apr. 7, 2025), on April 10, 2025, the Supreme Court of the United States in a unanimous decision

ordered Defendants to “‘facilitate’ Abrego Garcia’s release from custody in El Salvador and to
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ensure that his case is handled as it would have been had he not been improperly sent to El

Salvador.” Noem, et al. v. Abrego Garcia, et. al., 604 U.S. __ (2025), slip op., at 2. The same day

the District Court revised its order to, among other things, provide that the Defendants “take all

available steps to facilitate the return of Abrego Garcia to the United States as soon as possible.”

ECF No. 51 at 1.

       4.      As has been exhaustively detailed in Plaintiffs’ filings, Defendants failed to comply

with the orders of the Supreme Court and the District Court requiring Defendants to both (i)

“facilitate Abrego Garcia’s immediate return to the United States”; and (ii) “to ensure that his case

is handled as it would have been had he not been improperly sent to El Salvador.” ECF Nos. 177,

196. While on June 2, 2025, Defendants abruptly returned Abrego Garcia to the United States to

be charged with a criminal indictment—alleging that he engaged in the smuggling of aliens across

state lines—he is in constant threat of being removed to El Salvador, or another country from

which he will be refouled to El Salvador, all without due process. Accordingly, among the relief

requested, Plaintiffs seek to restore the status quo ante, “[t]hat is, to return [Abrego Garcia] to

where he was on March 12, 2025, before he was apprehended by ICE and spirited away to

CECOT.” ECF No. 31 at 16-17.

       5.      Defendants’ disdain for the law and legal process, and their cruelty, shocks the

conscience and demands immediate, sustained, judicial relief and oversight. It also marks a

profound constitutional crisis in which executive agencies have repeatedly and deliberately flouted

the authority of multiple federal courts—including the Supreme Court itself. This defiance

undermines the foundational principles of our constitutional system by eroding the checks and

balances and rule of law that protect individual liberty from government overreach. The integrity

of our constitutional republic, and the rule of law, depends on Plaintiff Abrego Garcia’s ability to



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obtain complete relief for these egregious wrongs, lest we accept a government that operates above

the law and beyond the reach of judicial authority.

                                 JURISDICTION AND VENUE

        6.     This Court has jurisdiction to hear this case under 28 U.S.C. § 2201, the Declaratory

Judgment Act, and 28 U.S.C. § 1331, Federal Question Jurisdiction; and because the individual

Defendants are United States officials. 28 U.S.C. § 1346(a)(2).

        7.     The Court has authority to enter a declaratory judgment and to provide temporary,

preliminary and permanent injunctive relief pursuant to Rules 57 and 65 of the Federal Rules of

Civil Procedure, 28 U.S.C. §§ 2201-2202, the All Writs Act, and the Court’s inherent equitable

powers.

        8.     Venue lies in this District because Plaintiffs reside in Beltsville, Maryland and each

Defendant is an agency or officer of the United States sued in his or her official capacity. 28 U.S.C.

§ 1391(e)(1). The unlawful arrest complained of herein also took place within this District. In

addition, Defendant Baker’s principal place of business is in Baltimore, Maryland, and the legal

violations described herein took place at the direction and under the supervision of her predecessor

in office.

                                          THE PARTIES

        9.     Plaintiff Kilmar Armando Abrego Garcia is a citizen and native of El Salvador who

resides in Beltsville, Maryland. Defendants revoked his supervised release, arrested him, and

deported him to El Salvador without any legal process whatsoever, and in violation of the

Withholding Order and a federal statute and regulations prohibiting them from doing so.

        10.    Plaintiff Jennifer Vasquez Sura is a U.S. citizen, and the wife of Plaintiff Abrego

Garcia. She is the next friend of Plaintiff Abrego Garcia.



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       11.       Plaintiff A.A.V., a U.S. citizen, is a minor child. He is the child of Plaintiff Abrego

Garcia and Plaintiff Vasquez Sura.

       12.       Defendant Kristi Noem is the Secretary of the Department of Homeland Security

(“DHS”). She is the cabinet-level secretary responsible for all immigration enforcement in the

United States.

       13.       Defendant Todd Lyons is the Acting Director of U.S. Immigration and Customs

Enforcement (“ICE”). He is the head of the federal agency responsible for all immigration

enforcement in the United States.

       14.       Defendant Kenneth Genalo is the Acting Executive Associate Director of ICE

Enforcement and Removal Operations. He is the head of the ICE office that carries out arrests of

noncitizens and removals from the United States.

       15.       Nikita Baker is the ICE Baltimore Field Office Director. She is the head of the ICE

office that unlawfully arrested Plaintiff and revoked his supervised release, which took place under

the direction and supervision of her predecessor in office.

       16.       Pamela Bondi is the Attorney General of the United States. The Immigration Judges

who decide removal cases and applications for relief from removal do so as her designees.

       17.       Marco Rubio is the Secretary of State of the United States. He is the individual

whom Plaintiffs requested this Court order to request the return of Plaintiff Abrego Garcia to the

United States from El Salvador.

       18.       All government defendants are sued in their official capacities.

                                        PROCEDURAL HISTORY

       19.       On March 24, 2025, Plaintiff Abrego Garcia filed his initial Complaint and First

Motion for Temporary Restraining Order against Defendant Noem and others. ECF No. 1, 3. The



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following day, on March 25, 2025, Plaintiff filed a Second Motion for Temporary Restraining

Order. ECF No. 6.

       20.     By no later than March 31, 2025, Defendants admitted that the removal of Plaintiff

Abrego Garcia was an “administrative error.” ECF No. 11-3 at 3 (Cerna Decl. Mar. 31, 2025).

       21.     On April 4, 2025, the District Court granted preliminary injunctive relief, ordering

the government to facilitate the return of Plaintiff Abrego Garcia. ECF No. 21.

       22.     Defendants filed various stay motions, all of which were denied by the District

Court and the Fourth Circuit. ECF Nos. 31, 32, 39.

       23.     On April 7, 2025, Defendants appealed to the Supreme Court of the United States.

After a brief administrative stay, on April 10, 2025, the Supreme Court affirmed the District

Court’s order, noting only that the order to return Abrego Garcia by April 7, 11:59 PM could no

longer be effective (as the deadline had passed) and stating that the term “effectuate” required

further clarification from this Court. Noem, et al. v. Abrego Garcia et al., 604 U.S. ___ (2025),

slip op., at 2. The Supreme Court further ordered Defendants “to ensure that [Plaintiff Abrego

Garcia’s] case is handled as it would have been had he not been improperly sent to El Salvador.”

Id.

       24.     The same day, the District Court amended its order to direct Defendants to “take

all available steps to facilitate the return of Abrego Garcia to the United States as soon as

possible” and requiring regular status updates. ECF No. 51 at 1.

       25.     On April 11, 2025, the District Court found that Defendants had failed to comply

with its previous order and instituted daily reporting requirements. ECF No. 61.




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       26.     Despite the amended order and daily reporting requirements, Defendants failed to

provide substantive information regarding steps taken toward compliance moving forward. See,

e.g., ECF Nos. 63, 74, 77.

       27.     Although Defendants purported to comply with the District Court’s orders, high

level government officials made repeated pronouncements that, as detailed herein, suggested they

had no intention of complying with the Court’s orders.

       28.     Between April 15, 2025 and the present, the parties engaged in expedited discovery.

See, e.g., ECF Nos. 79, 98, 112.

       29.     On June 6, 2025—nearly two months after the Supreme Court's affirmation and

without prior notice to this Court or Plaintiffs—Defendants abruptly announced that they had

returned Plaintiff Abrego Garcia to the United States to face criminal indictment in Tennessee.

                             RELEVANT LEGAL DOCTRINES

                                     Withholding of Removal

       30.     Federal law prohibits the government from removing a noncitizen to a country

where they are more likely than not to face persecution on account of a statutorily protected

ground. 8 U.S.C. § 1231(b)(3)(A). This protection is typically referred to as “withholding of

removal.”

       31.     For an immigration judge (serving as the designee of Defendant Bondi) to grant

withholding of removal to a noncitizen, the noncitizen must prove that he is more likely than not

to suffer persecution. “The burden of proof is on the applicant for withholding of removal … to

establish that his or her life or freedom would be threatened in the proposed country of removal

on account of race, religion, nationality, membership in a particular social group, or political

opinion.” 8 C.F.R. § 1208.16(b).



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       32.    If a noncitizen is granted withholding of removal, “DHS may not remove the alien

to the country designated in the removal order unless the order of withholding is terminated.”

Johnson v. Guzman Chavez, 594 U.S. 523, 531 (2021). No exceptions lie.

       33.    Federal regulations provide a procedure by which a grant of withholding of removal

issued by an immigration judge may be terminated: DHS must move to reopen the removal

proceedings before the immigration judge, and then DHS will bear the burden of proof, by a

preponderance of the evidence, that grounds for termination exist. 8 C.F.R. § 1208.24(e). After a

grant of withholding of removal is terminated, there would be no impediment to removal.

                                    Third Country Removal

       34.    An individual with an order of withholding of removal to a particular country may

only be removed to another country upon receiving notice and associated due process, including

having an opportunity to apply for protection from removal to that third country. See 8 U.S.C.

§ 1231(b)(3)(A); see also Guzman Chavez v. Hott, 940 F.3d 867, 879 (4th Cir. 2019) (“[I]f a

noncitizen who has been granted withholding as to one country faces removal to an alternative

country, then she must be given notice and an opportunity to request withholding of removal to

that particular country), rev’d on other grounds sub nom. Johnson v. Guzman Chavez, 594 U.S.

523 (2021); Andriasian v. INS, 180 F.3d 1033, 1041 (9th Cir. 1999); Kossov v. INS, 132 F.3d 405,

408-09 (7th Cir. 1998).

       35.    An individual with an order of withholding of removal to a particular country may

not be removed to another country with the intent or prospect of “chain refoulement”—i.e. that

they will be subsequently sent to the country for which they have an order of withholding of

removal. See 8 C.F.R. § 1208.18(a)(1); see also Murillo Morocho v. Garland, 80 F.4th 61, 71 (1st




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Cir. 2023) (vacating decision denying CAT protection where the Board of Immigration Appeals

failed to properly consider risk of torture by non-state actors).

        36.      Federal law also places restrictions on removal of aliens to countries to which they

have no connection, or a country to where their “life or freedom would be threatened.” 8 U.S.C.

§ 1231(b)(3)(A); see also Jama v. Immigr. & Customs Enf’t, 543 U.S. 335, 348 (2005).

        37.     Likewise, the Convention Against Torture (CAT), as implemented in U.S. law

through the Foreign Affairs Reform and Restructuring Act of 1998 (FARRA), prohibits

Defendants from removing an individual to any country where such individual is more likely than

not to face torture by or at the acquiescence of the government. See Pub. L. No. 105-277, § 2242,

112 Stat. 2681, 2681-822 (1998) (codified at 8 U.S.C. § 1231 note); 8 C.F.R. § 1208.16(c); 8

C.F.R. § 1208.18.

        38.     The CAT also prohibits refoulment, which includes chain refoulement—where an

individual will be sent to a country which will, in turn, send him to another country where he is

more likely than not to be tortured.

                           Revocation of Supervised Release and Arrest

        39.     Federal regulations governing enforcement actions by immigration officers require

that “[a] warrant of arrest shall be obtained except when the designated immigration officer has

reason to believe that the person is likely to escape before a warrant can be obtained.” 8 C.F.R.

§ 287.8(c)(2)(ii).

        40.     Where an individual with a final removal order has been released on supervision, 8

C.F.R. § 241.4(l)(2) provides that only the Executive Associate Commissioner or a district director

may revoke supervised release, and the district director may do so only “when, in the district

director’s opinion, revocation is in the public interest and circumstances do not reasonably permit



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referral of the case to the Executive Associate Commissioner.” That regulation also requires that

an individual whose supervised release is revoked be informed as to the reasons why, and be given

a prompt post-deprivation opportunity to be heard as to why his supervised release should be

restored.

                                Detention Beyond Removal Period

       41.     Under 8 U.S.C. § 1231(a), the government may detain a noncitizen for removal

only during the 90-day “removal period,” which begins when the removal order becomes

administratively final. 8 U.S.C. § 1231(a)(1)(A)-(B)(i). This period may be extended only if the

noncitizen “fails or refuses to make timely application in good faith for travel or other documents

necessary to the alien’s departure or conspires or acts to prevent the alien’s removal.” 8 U.S.C.

§ 1231(a)(1)(C).

       42.     The Supreme Court has also recognized a constitutional limitation on post-removal-

period detention: such detention is permissible only when there is a “significant likelihood of

removal in the reasonably foreseeable future.” Zadvydas v. Davis, 533 U.S. 678, 701 (2001). After

six months of detention—the “presumptively reasonable period”—the government bears the

burden of proving this likelihood if the noncitizen provides “good reason to believe” that removal

is not reasonably foreseeable. Id.

                                             FACTS

       43.     Plaintiff Abrego Garcia is a citizen of El Salvador and no other country.

       44.     Plaintiff Abrego Garcia is not a member of and has no affiliation with Tren de

Aragua, MS-13, or any other criminal or street gang.

       45.     Although Plaintiff Abego Garcia has been accused of general “gang affiliation,”

the U.S. government has never produced credible evidence supporting this accusation, and there

has been no finding made by any judicial tribunal of any such affiliation.
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       46.     Prior to April 2025, Plaintiff Abrego Garcia had no criminal history. Separate and

apart from his May 21, 2025 Tennessee indictment, he has never been charged or convicted of any

criminal charges, in the United States, El Salvador, or any other country.

                      Plaintiff Abrego Garcia’s 2019 removal proceedings

       47.     Plaintiff Abrego Garcia left El Salvador when he was around sixteen years old,

fleeing gang violence. Beginning around 2006, gang members stalked, hit, and threatened to

kidnap and kill him in order to coerce his parents to succumb to their increasing demands for

extortion.

       48.     Sometime around 2011, Plaintiff Abrego Garcia entered the United States without

inspection. He then made his way to the state of Maryland, where his older brother, a U.S. citizen,

resided. In the United States, Plaintiff Abrego Garcia has only ever resided in Maryland.

       49.     Around 2016, Plaintiff Abrego Garcia met Plaintiff Jennifer Vasquez Sura, a U.S.

citizen with two U.S.-citizen children from a prior relationship. Over time, they became close and

eventually became romantically involved.

       50.     Around December 2018, Plaintiff Abrego Garcia moved in with Plaintiff Vasquez

Sura and her two children, after Plaintiff Vasquez Sura learned she was pregnant with their child.

Plaintiff Abrego Garcia supported himself, Plaintiff Vasquez Sura, and her two children through

work in the construction industry.

       51.     On March 28, 2019, Plaintiff Abrego Garcia went to a Home Depot in Hyattsville,

Maryland to solicit employment. When he arrived, he joined three other young men who were also

at Home Depot soliciting employment, two of whom he recognized from prior occasions at the

Home Depot, though he had never interacted with them in any other context.

       52.     At 2:27 PM, while the four of them were chatting, a detective from the Hyattsville

City Police approached the group. The detective did not speak to Plaintiff Abrego Garcia, but only
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one of the other men. Soon thereafter, officers from Prince George County Police Department

(“PGPD”) arrived on the scene and proceeded to handcuff all four young men, including Plaintiff

Abrego Garcia.

       53.     At no point did police explain why they were arresting Plaintiff Abrego Garcia, nor

was Plaintiff Abrego Garcia ever charged with any crime. This was Plaintiff Abrego Garcia’s first

and only time in state custody.

       54.     At the police station, the four young men were placed into different rooms and

questioned. Plaintiff Abrego Garcia was asked if he was a gang member; when he told police he

was not, they said that they did not believe him and repeatedly demanded that he provide

information about other gang members. The police told Plaintiff Abrego Garcia that he would be

released if he cooperated, but he repeatedly explained that he did not have any information to give

because he did not know anything.

       55.     Plaintiff Abrego Garcia was then transferred to another room and told that ICE

officers would be coming to take him into federal immigration custody. Eventually, ICE officers

arrived and took Plaintiff Abrego Garcia into detention.

       56.     The following day, Plaintiff Abrego Garcia was served with a Notice to Appear, 8

U.S.C. § 1229, commencing removal proceedings against him pursuant to 8 U.S.C. § 1229a. He

was charged as removable pursuant to 8 U.S.C. § 1182(a)(6)(A)(i) (“An alien present in the United

States without being admitted or paroled, or who arrives in the United States at any time or place

other than as designated by the Attorney General, is inadmissible”), and no other charges.

       57.     On April 24, 2019, Plaintiff Abrego Garcia appeared for his first hearing in

immigration court. Through counsel, he moved for release on bond pursuant to 8 U.S.C. § 1226(a),

submitting over seventy pages of evidence in support thereof. ICE opposed a change in custody



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status, arguing that Plaintiff Abrego Garcia presented a danger to the community because local

police had purportedly “verified” that he is an active gang member.

       58.     In support thereof, ICE offered a Gang Field Interview Sheet (“GFIS”) generated

by PGPD. The GFIS explained that the only reason to believe Plaintiff Abrego Garcia was a gang

member was that he was wearing a Chicago Bulls hat and a hoodie; and that a confidential

informant advised that he was an active member of MS-13 with the Westerns clique. The GFIS

had been entered into PGPD’s database at 6:47 PM, approximately four hours after police met

Plaintiff Abrego Garcia for the first time.

       59.     According to the Department of Justice and the Suffolk County District Attorney’s

Office, the “Westerns” clique operates in Brentwood, Long Island, in New York, a state that

Plaintiff Abrego Garcia has never lived in.

       60.     The attorney for Plaintiff Abrego Garcia subsequently made multiple attempts to

obtain additional information from law enforcement concerning these allegations. PGPD indicated

that it did not have any incident report related to the Home Deport episode at all, nor did the

Department have any incident reports containing his name. The Hyattsville City Police Department

(“HCPD”), on the other hand, confirmed it had an incident report for the Home Depot incident,

but that only three people were named and Plaintiff Abrego Garcia was not one of them, nor did it

have any other incident reports with his name in its database.

       61.     His attorney also contacted the PGPD Inspector General requesting to speak to the

detective who authored the GFIS sheet, but was informed that the detective had been suspended.

A request to speak to other officers in the Gang Unit was declined.

       62.     Upon information and belief, the detective was suspended for passing confidential

information to a sex worker. See Ex. A.



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         63.   On June 25, 2019, Plaintiff Vasquez Sura and Plaintiff Abrego Garcia were married

in the Howard Detention Center. Plaintiff Vasquez Sura was in her third trimester of pregnancy at

the time. Due to a pre-existing condition, uterus didelphys, her pregnancy was categorized as high-

risk.

         64.   Plaintiff Abrego Garcia subsequently filed an I-589 application for asylum,

withholding of removal, and protection under the Convention Against Torture with the Baltimore

Immigration Court and was scheduled for an individual hearing. His individual hearing spanned

over two days: August 9, 2019, and September 27, 2019.

         65.   In advance of his hearing, Plaintiff Abrego Garcia, through counsel, filed a motion

for a subpoena to require the appearance of two PGPD detectives, and any evidence substantiating

his alleged gang membership.

         66.   In addition, Plaintiff Abrego Garcia, through counsel, submitted a legal brief and a

voluminous evidentiary filing establishing his eligibility for protection and contesting the

unfounded allegation of gang membership levied against him.

         67.   On August 9, 2019, the attorney for ICE indicated on the record that ICE had

conferred with its law enforcement partners and that all the evidence and intelligence they had was

what was contained in the GFIS. As a result, a subpoena was deemed unnecessary.

         68.   On August 11, 2019, Plaintiff Vasquez Sura gave birth to the couple’s son, Plaintiff

A.A.V. Plaintiff Abrego Garcia was unable to witness the birth of his son as he remained detained,

awaiting to continue the second part of his hearing.

         69.   A.A.V. was born with Microtia, congenital malformation of the external ear,

resulting in an underdeveloped ear. Testing later confirmed that A.A.V. was deaf in his right ear.




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       70.        On October 10, 2019, Plaintiff Abrego Garcia was granted withholding of removal

pursuant to 8 U.S.C. § 1232(b)(3)(A), after the immigration judge agreed that he had established

it was more likely than not that he would be persecuted by gangs in El Salvador because of a

protected ground. See Ex. B (Immigration Judge Order).

       71.        ICE did not appeal the grant of relief, see Ex. C (immigration court “Automated

Case Information” page); and Plaintiff Abrego Garcia was promptly released from custody on

supervised release.

       72.        At no time have Defendants ever sought to reopen Plaintiff Abrego Garcia’s

removal proceeding or seek to challenge or rescind the Withholding Order.

       73.        Plaintiff Abrego Garcia went home to his wife and children. They all have

continuously resided in Prince George’s County, Maryland.

       74.        In addition to hearing problems, A.A.V., who is now five years old, is intellectually

disabled and has a speech disorder. To this day, he is unable to verbally communicate and in

October 2024 he was diagnosed with autism.

       75.        Both Plaintiff Vasquez Sura and Plaintiff Abrego Garcia work to support their

family of five.

       76.        Before his unlawful removal, Plaintiff Abrego Garcia was a union member and was

employed full-time as a first-year Sheetmetal Apprentice. In addition, he had been pursuing his

own license at the University of Maryland.

       77.        As a condition of his withholding of removal status, Plaintiff Abrego Garcia is

required to check in with ICE once a year, and has been fully compliant. He appeared for his most

recent check-in on January 2, 2025, without incident. See Ex. C (ICE check-in record).




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       78.     Separate and apart from the May 21, 2025 Tennessee indictment, Plaintiff Abrego

Garcia has never been arrested or charged with any crime in the U.S. or in El Salvador.

       79.     There remains no known link or association between him and the MS-13 gang, or

any other gang, and no judicial tribunal has found that any such link or association exists.

                   Plaintiff Abrego Garcia’s March, 2025 arrest and removal

       80.     In the early afternoon of Wednesday, March 12, 2025, after completing a shift as a

sheet metal worker apprentice at a new job site in Baltimore, Plaintiff Abrego Garcia picked up

his five-year old son, A.A.V., from his grandmother’s house.

       81.     While driving with his son A.A.V. in the backseat, Plaintiff Abrego Garcia was

pulled over by ICE officers acting at the direction and under the supervision of Defendant Baker’s

predecessor in office.

       82.     One ICE officer, who identified himself as part of Homeland Security

Investigations, told Plaintiff Abrego Garcia that his “status has changed.” Within minutes, Plaintiff

Abrego Garcia was handcuffed and detained in one of several ICE vehicles on the scene. Plaintiff

Vasquez Sura was called and instructed to appear at their location within ten minutes to get her

five-year old son, A.A.V.; otherwise, the ICE officers threatened that the child would be handed

over to Child Protective Services.

       83.     The ICE officers who carried out this vehicle stop and subsequent arrest did not

have a warrant, nor did they have any articulable reason to believe that Plaintiff Abrego Garcia

would flee before a warrant could be obtained.

       84.     Plaintiff Abrego Garcia’s supervised release was not revoked by the Executive

Associate Commissioner, nor by the District Director. Nor did reasons exist to believe that

circumstances did not reasonably permit referral of the case to the Executive Associate

Commissioner.
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        85.     After Plaintiff Vasquez Sura arrived at the scene, she was able to briefly talk with

Plaintiff Abrego Garcia, who appeared confused, distraught, and crying. Moments later, Plaintiff

Abrego Garcia was driven away. No explanation was provided to Plaintiff Vasquez Sura as to why

her husband was detained, where he was going, or what was happening.

        86.     Almost immediately after Plaintiff Vasquez Sura left with her son A.A.V., she

began to try to locate Plaintiff Abrego Garcia through the online ICE Detainee Locator system and

by calling various immigration detention centers and facilities. Upon information and belief,

between Wednesday, March 12, and Saturday, March 15, Plaintiff Abrego Garcia was moved to

various different locations across the country.

        87.     The evening after his arrest, Plaintiff Vasquez Sura received a call from Plaintiff

Abrego Garcia. At that time, he was in Baltimore, where he had been brought immediately after

his arrest for interrogation.

        88.     During that conversation, Plaintiff Abrego Garcia informed Plaintiff Vasquez Sura

that he was being questioned about gang affiliations. He repeatedly informed his interviewers that

he was never a gang member and had no gang affiliations. He was shown several photos where he

appeared in public, and asked about other people in those photos, but was unable to provide any

information on them, as he did not know them or anything about them. Plaintiff Abrego Garcia

also told his wife that he had been told that he understood that he would go before an immigration

judge and then be released.

        89.     Following his interrogation in Baltimore, officers instructed Plaintiff Abrego

Garcia to sign documents without adequate explanation of their contents or legal significance. He

was subsequently placed with approximately ten other detainees and transported to BWI airport.




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       90.     At no time was Plaintiff Abrego Garcia informed as to the reasons why his

supervised release was revoked, nor given the opportunity to be heard by means of the required

interview as to why it should be restored.

       91.     Despite Plaintiff Abrego Garcia’s repeated assertions that he possessed a valid

Employment Authorization Document, officials disregarded this information and placed him on a

flight to Louisiana.

       92.     In Louisiana, Plaintiff Abrego Garcia explicitly requested to speak with an ICE

agent. When granted this opportunity, he clearly communicated that he had received judicial relief

and needed to speak with a judge. The ICE agent falsely assured Plaintiff Abrego Garcia that he

was not being deported to El Salvador but rather was being transported to Texas to appear before

a judge. Relying on this misrepresentation, Plaintiff Abrego Garcia cooperated with further

transport.

       93.     Consistent with this account, Plaintiff Vasquez Sura received a call from Plaintiff

Abrego Garcia on the evening of March 13. Plaintiff Abrego Garcia told his wife that he believed

he was in Louisiana, but was not sure because he had been moved around so many times. Plaintiff

Abrego Garcia advised his wife that he was very confused. However, he was still being assured

(falsely) that he would soon be brought before an immigration judge.

       94.     In an attempt to ascertain his actual location and find further information about his

arrest and detention, Plaintiff Vasquez Sura called different detention centers, trying to speak to

someone. She recalls one brief conversation where she was told that “El Salvador was asking for

him.” Her attempts to protest by explaining that Plaintiff Abrego Garcia had won protection from

being removed to El Salvador fell on deaf ears.




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       95.     Upon arrival in Texas, officers separated Plaintiff Abrego Garcia and four to five

other Salvadorans from the remaining passengers. The detainees were confined to a stationary bus

for an entire day while officials waited for additional deportees to arrive. Plaintiff Abrego Garcia

overheard ICE agents discussing plans to transport detainees to CECOT1 in El Salvador. This was

the first time Plaintiff Abrego Garcia learned that officials had been misleading him about being

brought before a judge and that they instead intended to deport him.

       96.     Around 11:00 AM on Saturday, March 15, 2025, Plaintiff Vasquez Sura received a

call from Plaintiff Abrego Garcia. During that conversation, Plaintiff Abrego Garcia informed her

that he was being held by ICE at the East Hidalgo Detention Center in La Villa, Texas.

       97.     Plaintiff Abrego Garcia then relayed that he was told that he was being deported to

El Salvador. With a sense of urgency, he asked his wife to contact his mother so their family could

get him from CECOT, as that is where he was told they were sending him.

       98.     The following morning, officials processed Plaintiff Abrego Garcia through a

crowded office, calling detainees individually and loading them onto buses. The transport caravan

proceeded to the airport under significant security, including helicopter surveillance. At the airport,

multiple federal agencies were present, including FBI, DEA, and ICE personnel.

       99.     Throughout this entire process, Plaintiff Abrego Garcia continuously informed

officials that he possessed legal permission to remain and work in the United States until 2029 and

had been granted withholding of removal. He repeatedly requested judicial review. Officials

consistently responded with false assurances that he would see a judge, deliberately misleading

Plaintiff Abrego Garcia to prevent him from taking actions to assert his legal rights.



1
  CECOT is the Terrorism Confinement Center in El Salvador, one of the largest prisons in the
world.

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       100.       Plaintiff Abrego Garcia only realized the true nature of his dire situation upon

arrival at the airport in El Salvador, at which point it was too late to challenge the unlawful

deportation.

                              Abrego Garcia’s Detention in El Salvador

       101.       On Sunday, March 16, Plaintiff Vasquez Sura was sent a photo from a news article

discussing the deportation of alleged Venezuelan gang members that were deported without a

hearing. The photo showed men kneeling on the ground, with their shaved heads bowed and their

arms over their head. Their faces were not visible. Upon inspection, Jennifer identified one of these

men as Plaintiff Abrego Garcia based on her husband’s two scars on his head and personally

selected, unaffiliated, and distinctive, tattoos. See Ex. E (CECOT photos).

       102.       For the next few days, the ICE Detainee Locator continued to indicate that Plaintiff

Abrego Garcia was located at the East Hidalgo Detention Center, even though staff at that

detention center told Plaintiff Vasquez Sura that he had left on Saturday.

       103.       Watching the news, Plaintiff Vasquez Sura was horrified to see more photos of

CECOT prisoners that included her husband, and a video where Plaintiff Abrego Garcia was frog-

walked through the CECOT prison.

       104.       Plaintiff Abrego Garcia’s family subsequently hired a lawyer in El Salvador, who

has confirmed that Plaintiff Abrego Garcia is, in fact, being held at CECOT.

       105.       To date, there are no known criminal charges levied against Plaintiff Abrego Garcia

in El Salvador.

       106.       ICE and DHS took no steps to reopen the removal case of Plaintiff Abrego Garcia,

nor to challenge or rescind his Withholding Order. See Ex. C (immigration court “Automated

Case Information” page, showing no activity since October 10, 2019).



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       107.    Defendants, including Defendants Noem, Lyons, Genalo, and the predecessor in

office of Defendant Baker, decided to deport Plaintiff Abrego Garcia without following the law.

       108.    They did so knowing and having arranged and intended that the Government of El

Salvador would detain Plaintiff Abrego Garcia in CECOT immediately upon arrival.

       109.    Plaintiff Abrego Garcia had exhausted all administrative remedies. No

administrative remedies were available to Plaintiff Abrego Garcia, precisely because Defendants

made the choice to unlawfully forego proceedings before the immigration judge, which would

entail a right to administrative review before the Board of Immigration Appeals and then a petition

for review to the U.S. Court of Appeals for the Fourth Circuit.

                                      Conditions in CECOT

       110.    On March 15, 2025, Defendants deported 261 noncitizens, including 238

Venezuelan nationals and 23 Salvadoran nationals, to El Salvador without going through any legal

processes whatsoever in front of an immigration judge.

       111.    Plaintiff Abrego Garcia was one of those 23 Salvadoran nationals who were sent to

the country’s mega-prison CECOT, the Terrorism Confinement Center.

       112.    Upon information and belief, all Defendants are aware that the government of El

Salvador tortures individuals detained in CECOT. Indeed, U.S. President Donald Trump has made

comments to the press expressing glee and delight at the torture that the Government of El Salvador

inflicts upon detainees in CECOT.

       113.    CECOT conditions have garnered attention from human rights organizations. Each

of the 256 cells is intended to hold approximately 80 inmates but often holds nearly double. See

Ex. F. The cramped cells are equipped with tiered metal bunks without mattresses, two basins for

washing, and two open toilets. There are no windows, fans, or air conditioning, despite the region’s

warm and humid climate. See Ex. G.
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       114.    Inmates in CECOT are confined to their cells for 23.5 hours daily and cannot go

outdoors. They are denied access to reading materials, including even letters from friends or

family. Inmates are prohibited from receiving visits from family and friends. Meals are provided

through the bars, and the facility enforces strict regulations to maintain order. See Ex. H.

       115.    In May 2023, Cristosal, a leading human rights organization in El Salvador,

released a comprehensive report detailing severe human rights abuses within the country’s prison

system, especially CECOT. See Ex. I. The investigation documented the deaths of 153 inmates

between March 27, 2022, and March 27, 2023, attributing many to torture, beatings, mechanical

asphyxiation (strangulation), and lack of medical attention. Id. Autopsies revealed common

patterns of lacerations, hematomas, sharp object wounds, and signs of choking or strangulation.

Id. Survivors reported being forced to pick food off the floor with their mouths, subjected to

electric shocks, and exposed to untreated skin fungus epidemics. Id. Cristosal’s director has

emphasized that these systemic violations have become state policy. Id.

       116.    Plaintiff Abrego Garcia reports that he was subjected to severe mistreatment upon

arrival at CECOT, including but not limited to severe beatings, severe sleep deprivation,

inadequate nutrition, and psychological torture.

       117.    Plaintiff Abrego Garcia was the first name called to disembark the plane that

transported him to El Salvador on March 15, 2025. As he exited the aircraft, still in chains, two

officials grabbed his arms and pushed him down the stairs, forcing his head down.

       118.    There were strong lights illuminating the area despite it being nighttime, and

cameras were filming the detainees’ arrival.

       119.    Plaintiff Abrego Garcia was pushed toward a bus, forcibly seated, and fitted with a

second set of chains and handcuffs. He was repeatedly struck by officers when he attempted to



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raise his head. He observed an ICE agent on the bus communicating with Salvadoran officials to

confirm the identities of the Salvadoran nationals on board before the bus departed.

        120.     Upon arrival at CECOT, the detainees were greeted by a prison official who stated,

“Welcome to CECOT. Whoever enters here doesn’t leave.” Plaintiff Abrego Garcia was then

forced to strip, issued prison clothing, and subjected to physical abuse including being kicked in

the legs with boots and struck on his head and arms to make him change clothes faster. His head

was shaved with a zero razor, and he was frog-marched to cell 15, being struck with wooden batons

along the way. By the following day, Plaintiff Abrego Garcia had visible bruises and lumps all

over his body.

        121.     In Cell 15, Plaintiff Abrego Garcia and 20 other Salvadorans were forced to kneel

from approximately 9:00 PM to 6:00 AM, with guards striking anyone who fell from exhaustion.

During this time, Plaintiff Abrego Garcia was denied bathroom access and soiled himself. The

detainees were confined to metal bunks with no mattresses in an overcrowded cell with no

windows, bright lights that remained on 24 hours a day, and minimal access to sanitation.

        122.     After approximately one week at CECOT, prison director Osiris Luna and other

officials separated the 21 Salvadorans who had arrived together. Twelve individuals with visible

gang-related tattoos were moved to another cell, while Plaintiff Abrego Garcia remained with eight

others who, like him, upon information and belief had no gang affiliations or tattoos.

        123.     As reflected by his segregation, the Salvadoran authorities recognized that Plaintiff

Abrego Garcia was not affiliated with any gang and, at around this time, prison officials explicitly

acknowledged that Plaintiff Abrego Garcia’s tattoos were not gang-related, telling him “your

tattoos are fine.”




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         124.   While at CECOT, prison officials repeatedly told Plaintiff Abrego Garcia that they

would transfer him to the cells containing gang members who, they assured him, would “tear” him

apart.

         125.   Indeed, Plaintiff Abrego Garcia repeatedly observed prisoners in nearby cells who

he understood to be gang members violently harm each other with no intervention from guards or

personnel. Screams from nearby cells would similarly ring out throughout the night without any

response from prison guards on personnel.

         126.   During his first two weeks at CECOT, Plaintiff Abrego Garcia suffered a significant

deterioration in his physical condition and lost approximately 31 pounds (dropping from

approximately 215 pounds to 184 pounds).

         127.   On April 9, Plaintiff Abrego Garcia and four others were transferred to a different

module in CECOT, where they were photographed with mattresses and better food—photos that

appeared to be staged to document improved conditions.

         128.   On or about April 10, 2025, Plaintiff Abrego Garcia was transferred alone to the

Centro Industrial prison facility in Santa Ana, El Salvador.

         129.   While at Centro Industrial, Plaintiff Abrego Garcia was frequently hidden from

visitors, being told to remain in a separate room whenever outside visitors came to the facility.

         130.   During his entire time in detention in El Salvador, Plaintiff Abrego Garcia was

denied any communication with his family and access to counsel until Senator Van Hollen visited

him on April 17, 2025.

                Statements Refusing Return of Abrego Garcia to the United States

         131.   Since the Supreme Court affirmed the District Court’s order requiring that

Defendants facilitate Abrego Garcia’s release and return from custody in El Salvador and ensure



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that Plaintiff Abrego Garcia’s case is handled as it would have been had he not been improperly

sent to El Salvador, numerous high-ranking government officials, including Defendants, have

publicly stated that they would not comply with the Courts’ orders.

       132.    By way of example:

              On April 16, 2025, Attorney General Pamela Bondi stated: “He is not coming
               back to our country. President Bukele said he was not sending him back. That’s
               the end of the story. If he wanted to send him back, we would give him a plane
               ride back. . . . But he’s from El Salvador. He’s in El Salvador, and that’s where
               the president plans on keeping him.” Ex. J.

              On April 18, 2025, the official White House account posted on social media:
               “he’s NOT coming back.” Ex. K.

              On April 25, 2025, President Trump stated in a public interview that he had not
               asked President Bukele to return Plaintiff Abrego Garcia, saying “I haven’t been
               asked to ask him by my attorneys.” Ex. L.

              On April 29, 2025, President Trump acknowledged he could secure Plaintiff
               Abrego Garcia’s return, stating “I could” call the president of El Salvador and
               request his return, and that “if he were the gentleman that you say he is, I would
               do that. But he’s not.” Ex. M.

              On May 2, 2025, the official DHS account posted that Plaintiff Abrego Garcia
               “will never be allowed to return to the United States” and “will not return to our
               country under the Trump Administration.” Ex. N.

              On May 8, 2025, Secretary of Homeland Security Kristi Noem testified before the
               Senate that “There is no scenario where Abrego Garcia will be in the United
               States again.” Ex. O.

              When asked whether DHS had taken steps to process parole paperwork to allow
               Plaintiff Abrego Garcia to be readmitted into the United States in this case, Acting
               General Counsel of DHS Joseph Mazzara was adamant that he would not, under
               any circumstances, do so. See ECF No. 129-9.

       133.    These statements represent only a sampling of the numerous public declarations by

Defendants and other associated high-ranking government officials demonstrating their

categorical refusal to comply with the orders of the District and Supreme Court.

                                    Return to the United States


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       134.    Despite the Government’s repeated public statements that Plaintiff Abrego Garcia

would never return to the United States, on June 6, 2025, the Government abruptly transported

him from El Salvador to the United States.

       135.    Demonstrating Defendants’ constructive custody of Plaintiff Abrego Garcia

throughout his detention in El Salvador, he was not returned through any formal extradition

process and upon information and belief, this transportation occurred without any immigration

parole paperwork or other formal immigration status documentation of any kind.

       136.    On June 6, 2025, at a press conference, Defendant Bondi announced that the

government returned Plaintiff Abrego Garcia so that he could face criminal charges in Tennessee

relating to his alleged smuggling of illegal aliens across state lines. Ex. P.

       137.    Upon information and belief, Defendants’ investigation into Abrego Garcia’s

alleged human smuggling was pretextual, and only began on or around April 28, 2025. United

States v. Abrego Garcia, No. 3:25-cr-00115, ECF No. 61 at 12-13 (M.D. Tenn. June 26, 2025).

            Defendants’ Continued Threat to Remove Abgrego Garcia To El Salvador

       138.    Now that Plaintiff Abrego Garcia is back in the United States, Defendants continue

to state publicly that they intends to remove Plaintiff Abrego Garcia, even though his removal to

El Salvador is prohibited by his Withholding Order, and no other country has been properly

designated for his removal through immigration court proceedings or otherwise.

       139.    Indeed, immediately upon his return, Defendant Attorney General Bondi declared:

“Upon completion of sentence we anticipate he will be returned to his home country of El

Salvador.” Chris Strohm et al., Abrego Garcia Charged With Illegally Transporting Migrants,

Bloomberg (June 6, 2025).




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       140.    Senior White House official Stephen Miller similarly stated that Abrego Garcia is

“now being prosecuted. After a lengthy prison sentence, it is back home to El Salvador,” and

reiterated: “He will be tried, jailed, and then deported again to El Salvador.” Ex. Q; Ex. R. The

federal prosecutors handling Plaintiff Abrego Garcia’s proceeding in Tennessee also recently

confirmed that he may be removed “in the near future,” United States v. Abrego Garcia, No. 3:25-

cr-00115 (M.D. Tenn. June 22, 2025), ECF No. 46.

       141.    At a hearing on June 26, 2025, counsel for Defendants also represented to the

District Court that it was his understanding that Defendants intended to remove Abrego Garcia to

a third country upon his release from pretrial custody, but was unable to state which country or

when such removal would take place.

       142.    Defendants also continue to insist, without basis, that their disproven claim of

MS-13 membership allow them to remove Abrego Garcia to El Salvador despite Abrego Garcia’s

withholding of removal there. E.g., ECF No. 86-1 at 2 (“Abrego Garcia—a member of a foreign

terrorist organization (MS-13), who no longer has any right to withholding of removal in the first

place.”); ECF No. 77 at 2 (Mazzara’s declaring “Abrego Garcia is no longer eligible for

withholding of removal because of his membership in MS-13”); Petitioners’ Application to Vacate

Injunction at 3, Noem v. Abrego Garcia, 145 S. Ct. 1017 (2025) (No. 24A) (“For starters, because

MS-13 members such as Abrego Garcia have since been designated members of a foreign terrorist

organization, they are no longer eligible for withholding of removal under 8 U.S.C.

1231(b)(3)(B).”); id. at 20 (“MS-13’s ensuing designation as a foreign terrorist organization whose

members cannot invoke withholding of removal”).




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                                   The Whistleblower Disclosure

          143.   On June 24, 2025, Erez Reuveni, the former Acting Deputy Director for the Office

of Immigration Litigation (OIL) at the Department of Justice, submitted a protected whistleblower

disclosure to Congress, the DOJ Inspector General, and the Office of Special Counsel. Mr.

Reuveni’s disclosure detailed violations of law and abuse of authority by the Department of Justice

and White House personnel in connection with several cases, including that of Plaintiff Abrego

Garcia.

          144.   The whistleblower disclosure details how, after Mr. Reuveni truthfully informed

this Court at the April 4, 2025 hearing that Plaintiff Abrego Garcia’s removal was an error, he was

instructed to, among other things, file an appeal brief making arguments he believed were

unsupported by evidence and law. When Mr. Reuveni refused to sign the brief, he was placed on

administrative leave on April 5, 2025, and terminated on April 11, 2025.

                                      CAUSES OF ACTION

                           FIRST CAUSE OF ACTION:
             VIOLATION OF THE WITHHOLDING OF REMOVAL STATUTE
                              8 U.S.C. § 1231(b)(3)(A)
                             (Plaintiff Abrego Garcia)

          145.   Plaintiffs incorporate the foregoing paragraphs 1-144 by reference.

          146.   The Withholding of Removal statute, 8 U.S.C. § 1231(b)(3)(A), prohibits

Defendants from removing a noncitizen to any country from which he has been granted

withholding of removal, unless such grant is formally terminated by lawful means.

          147.   As set forth above, Defendants removed Plaintiff Abrego Garcia to El Salvador, the

country from which he had been granted withholding of removal, without formally terminating his

grant of withholding of removal, thus violating the law.




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       148.    Defendants’ violation of law, as set forth herein, caused Plaintiff Abrego Garcia to

face irreparable harm with each day that he spent outside the United States and detained in CECOT

and the Centro Industrial prison facility.

       149.    Even now that Plaintiff Abrego Garcia was released from CECOT and the Centro

Industrial prison facility and returned to the United States, he has not been placed back in the

position he would have been had he not been improperly sent to El Salvador and is suffering

irreparable harm in the form of separation from his U.S. citizen wife, Plaintiffs Vasquez Sura, and

his severely disabled U.S. citizen child, Plaintiff A.A.V.

       150.    Plaintiffs ask the Court to immediately order Defendants to take all steps reasonably

available to them, proportionate to the gravity of the ongoing harm, to place Plaintiff Abrego

Garcia back in the position he would have been had he not been improperly sent to El Salvador,

and not remove Plaintiff Abrego Garcia to El Salvador or to a third country that will or may send

him to El Salvador without prior notice and opportunity to be heard.

                                SECOND CAUSE OF ACTION:
                               PROCEDURAL DUE PROCESS
                           U.S. CONSTITUTION, AMENDMENT V
                                   (Plaintiff Abrego Garcia)

       151.    Plaintiffs incorporate the foregoing paragraphs 1-144 by reference.

       152.    Plaintiff Abrego Garcia has a procedural due process right not to be removed to El

Salvador, the country from which he had been granted withholding of removal, or any other

country, without an immigration judge first carrying out the procedures set forth in statute and

federal regulations.

       153.    As set forth above, Defendants removed Plaintiff Abrego Garcia to El Salvador, the

country from which he had been granted withholding of removal, without formally terminating his




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grant of withholding of removal, thus violating his procedural due process rights under the Fifth

Amendment to the U.S. Constitution.

       154.    Defendants’ violation of law, as set forth herein, caused Plaintiff Abrego Garcia

irreparable harm for each day that he spent outside the United States and detained in CECOT and

the Centro Industrial prison facility.

       155.    Even now that Plaintiff Abrego Garcia was released from CECOT and the Centro

Industrial prison facility and returned to the United States, he has not been placed back in the

position he would have been had he not been improperly sent to El Salvador and is suffering

irreparable harm in the form of separation from his U.S. citizen wife, Plaintiffs Vasquez Sura, and

his severely disabled U.S. citizen child, Plaintiff A.A.V.

       156.    Plaintiffs ask the Court to immediately order Defendants to take all steps reasonably

available to them, proportionate to the gravity of the ongoing harm, to place Plaintiff Abrego

Garcia back in the position he would have been had he not been improperly sent to El Salvador,

and not remove Plaintiff Abrego Garcia to El Salvador or to a third country that will or may send

him to El Salvador without prior notice and opportunity to be heard, and to order that Plaintiff

Abrego Garcia is afforded all appropriate procedural due process in connection with any further

removal proceedings.

                                 THIRD CAUSE OF ACTION:
                               SUBSTANTIVE DUE PROCESS
                           U.S. CONSTITUTION, AMENDMENT V
                                       (All Plaintiffs)

       157.    Plaintiffs incorporate the foregoing paragraphs 1-144 by reference.

       158.    Plaintiff Abrego Garcia has a substantive due process right under the Fifth

Amendment to the U.S. Constitution not to be subjected to government conduct that shocks the

conscience. Defendants’ conduct as set forth above violates that right.


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        159.    Plaintiffs Vasquez Sura and A.A.V., as the U.S.-citizen spouse and minor child of

Plaintiff Abrego Garcia, also have a family unity interest in Plaintiff Abrego Garcia not being

removed from the United States in a manner that shocks the conscience. Defendants’ conduct as

set forth above violates that right.

        160.    Defendants’ actions, as set forth herein, caused Plaintiff Abrego Garcia irreparable

harm with each day that he spent outside the United States and was detained in CECOT and the

Centro Industrial prison facility.

        161.    Even now that Plaintiff Abrego Garcia was released from CECOT and the Centro

Industrial prison facility and returned to the United States, he has not been placed back in the

position he would have been had he not been improperly sent to El Salvador and is suffering

irreparable harm in the form of separation from his U.S. citizen wife, Plaintiffs Vasquez Sura, and

his severely disabled U.S. citizen child, Plaintiff A.A.V.

        162.    Plaintiffs ask the Court to immediately order Defendants to take all steps reasonably

available to them, proportionate to the gravity of the ongoing harm, to place Plaintiff Abrego

Garcia back in the position he would have been had he not been improperly sent to El Salvador,

and not remove Plaintiff Abrego Garcia to El Salvador or to a third country that will or may send

him to El Salvador, and to order that Plaintiff Abrego Garcia is afforded all appropriate substantive

due process in connection with any further removal proceedings.

                              FOURTH CAUSE OF ACTION:
                            ADMINISTRATIVE PROCEDURE ACT
                                    5 U.S.C. § 706(2)(A)
                                 (Plaintiff Abrego Garcia)

        163.    Plaintiffs incorporate the foregoing paragraphs 1-144 by reference.




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       164.    The Administrative Procedure Act provides that courts “shall . . . hold unlawful and

set aside agency action” that is “arbitrary, capricious, an abuse of discretion.” 5 U.S.C.

§ 706(2)(A).

       165.    Defendants’ actions as set forth herein were arbitrary, capricious, and an abuse of

discretion.

       166.    Defendants’ arbitrary and capricious actions, as set forth herein, caused Plaintiff

Abrego Garcia irreparable harm with each day that he spent outside the United States and detained

in CECOT and the Centro Industrial prison facility.

       167.    Even now that Plaintiff Abrego Garcia was released from CECOT and the Centro

Industrial prison facility and returned to the United States, he has not been placed back in the

position he would have been had he not been improperly sent to El Salvador and is suffering

irreparable harm in the form of separation from his U.S. citizen wife, Plaintiffs Vasquez Sura, and

his severely disabled U.S. citizen child, Plaintiff A.A.V.

       168.    Plaintiffs ask the Court to immediately order Defendants to take all steps reasonably

available to them, proportionate to the gravity of the ongoing harm, to return Plaintiff Abrego

Garcia to the position he was in prior to his unlawful arrest, including that Defendants not remove

Plaintiff Abrego Garcia to El Salvador or to a third country that may or will send him to El Salvador

without prior notice and opportunity to be heard.

                                 FIFTH CAUSE OF ACTION:
                                      HABEAS CORPUS
                                        28 U.S.C. § 2241
                                   (Plaintiff Abrego Garcia)

       169.    Plaintiffs incorporate the foregoing paragraphs 1-144 by reference.

       170.    The writ of habeas corpus is available to any individual who is held in custody of

the federal government in violation of the Constitution or laws or treaties of the United States.


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        171.    Plaintiff Abrego Garcia will imminently be held in federal ICE custody, without

legal basis and in violation of statutes and regulations, as set forth herein.

        172.    This Court should issue a writ of habeas corpus ad testificandum, ordering that

Plaintiff Abrego Garcia be brought before this Court for a habeas corpus hearing.

        173.    At the habeas corpus hearing, this Court should order Defendants to show cause

why continued detention is lawfully permissible; and if they cannot meet their burden of so

showing, issue a writ of habeas corpus and order Plaintiff Abrego Garcia’s immediate release from

custody.

                                 SIXTH CAUSE OF ACTION:
                                     UNLAWFUL ARREST
                          8 C.F.R. § 241.4(l) AND 8 C.F.R. § 287.8(c)(2)(ii)
                                      (Plaintiff Abrego Garcia)

        174.    Plaintiffs incorporate the foregoing paragraphs 1-144 by reference.

        175.    When ICE arrested Mr. Abrego Garcia on March 12, 2025, they flagrantly violated

federal regulations.

        176.    Mr. Abrego Garcia was under a valid Order of Supervision following his 2019 grant

of withholding of removal. He had fully complied with all requirements, including attending his

most recent check-in on January 2, 2025, without incident. See Ex. D (ICE check-in record).

        177.    Defendants violated 8 C.F.R. § 241.4(l)(1), which requires that upon revocation of

supervised release, “the alien will be notified of the reasons for revocation of his or her release or

parole. The alien will be afforded an initial informal interview promptly after his or her return to

Service custody to afford the alien an opportunity to respond to the reasons for revocation stated

in the notification.”

        178.    Defendants provided Mr. Abrego Garcia with no written notification of revocation,

no explanation of the reasons for revocation, and no opportunity to contest the revocation.

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       179.    Defendants further violated 8 C.F.R. § 241.4(l)(2), which provides that only the

Executive Associate Commissioner or a district director may revoke supervised release, and the

district director may do so only “when, in the district director’s opinion, revocation is in the public

interest and circumstances do not reasonably permit referral of the case to the Executive Associate

Commissioner.” Upon information and belief, no such determination was made by the Executive

Associate Commissioner or district director, and no exigent circumstances existed that would have

prevented referral to the proper authority.

       180.    Additionally, Defendants violated 8 C.F.R. § 287.8(c)(2)(ii), which requires that

“[a] warrant of arrest shall be obtained except when the designated immigration officer has reason

to believe that the person is likely to escape before a warrant can be obtained.”

       181.    Defendants had no reason to believe Mr. Abrego Garcia was likely to escape before

a warrant could be obtained. To the contrary, they knew he was living openly in Maryland, working

at a legitimate job, supporting his U.S. citizen family, and consistently complying with his

supervision requirements. Yet Defendants deliberately bypassed the warrant requirement,

ambushing Mr. Abrego Garcia while he was driving with his disabled five-year-old child.

       182.    These regulations were promulgated to safeguard due process rights of noncitizens,

and Defendants’ violations severely prejudiced Plaintiff Abrego Garcia. Had these regulations

been followed, Mr. Abrego Garcia would have had a meaningful opportunity to contest the

revocation of his supervised release, demonstrate his compliance with the Order of Supervision,

and prevent his unlawful removal to El Salvador.

       183.    Under the well-established Accardi doctrine, “when an agency fails to follow its

own procedures or regulations, that agency’s actions are generally invalid.” Nader v. Blair, 549




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F.3d 953, 962 (4th Cir. 2008) (citing United States ex rel. Accardi v. Shaughnessy, 347 U.S. 260,

268 (1954)); see also Sanchez v. McAleenan, 2024 WL 1256264, at *7 (D. Md., Mar. 25, 2024).

       184.    Defendants’ unlawful arrest of Mr. Abrego Garcia set in motion the chain of events

that led to his wrongful deportation, torture, and continued suffering and detention. This Court

must not permit Defendants to benefit from these flagrant regulatory violations.

       185.    As relief, Plaintiffs ask the Court to immediately order Defendants to release Mr.

Abrego Garcia from custody and restore his Order of Supervision on the same conditions as before

his March 2025 arrest.

                             SEVENTH CAUSE OF ACTION:
               UNLAWFUL DETENTION BEYOND REMOVAL PERIOD
          8 U.S.C. § 1231(a)(6) AND DUE PROCESS UNDER ZADVYDAS v. DAVIS
                                  (Plaintiff Abrego Garcia)


       186.    Plaintiffs incorporate the foregoing paragraphs 1-144 by reference.

       187.    Under 8 U.S.C. § 1231(a), the government may detain a noncitizen for removal

only during the 90-day “removal period,” which begins when the removal order becomes

administratively final. 8 U.S.C. § 1231(a)(1)(A)-(B)(i). This period may be extended only if the

noncitizen “fails or refuses to make timely application in good faith for travel or other documents

necessary to the alien’s departure or conspires or acts to prevent the alien’s removal.” 8 U.S.C.

§ 1231(a)(1)(C).

       188.    The Supreme Court has recognized a constitutional limitation on post-removal-

period detention: such detention is permissible only when there is a “significant likelihood of

removal in the reasonably foreseeable future.” Zadvydas v. Davis, 533 U.S. 678, 701 (2001). After

six months of detention—the “presumptively reasonable period”—the government bears the




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burden of proving this likelihood if the noncitizen provides “good reason to believe” that removal

is not reasonably foreseeable. Id.

       189.    Plaintiff Abrego Garcia was initially released from custody in October 2019

because Defendants could not remove him from the United States given his Withholding Order.

       190.    Mr. Abrego Garcia’s removal order became final in 2019, and his 90-day removal

period ended in January 2020. His 180-day Zadvydas presumptively reasonable period expired in

April 2020.

       191.    More than five years later, Plaintiff Abrego Garcia remains unremovable to El

Salvador due to his still-valid Withholding Order. As of the filing of this amended and

supplemental complaint, Defendants have not designated any other country for his removal.

       192.    Even if Defendants were to designate a third country, Plaintiff Abrego Garcia

would be entitled to apply for withholding of removal or protection from refoulement under,

among other things, the Convention Against Torture with respect to that country, and those

proceedings would further delay any potential removal.

       193.    Plaintiff Abrego Garcia has established far more than a “good reason to believe”

that there is no significant likelihood of his removal in the reasonably foreseeable future as (1) he

cannot legally be removed to El Salvador; (2) no other country has agreed to accept him; and (3)

even if such a country were identified, Mr. Abrego Garcia would be entitled to apply for protection

from removal to that country, including on the basis that the country would send him to El

Salvador, a process that would take many months if not years to complete.

       194.    Under Zadvydas, Defendants cannot detain Mr. Abrego Garcia indefinitely while

they search for a country that might accept him or while they pursue lengthy legal proceedings to




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try to overcome his withholding protection. Such detention violates both the statutory limitations

of 8 U.S.C. § 1231(a)(6) and his constitutional due process rights.

       195.     As relief, Plaintiffs request an order from this Court immediately releasing Mr.

Abrego Garcia from Defendants’ custody and placing him on supervision pursuant to 8 U.S.C.

§ 1231(a)(3).

                            EIGHTH CAUSE OF ACTION:
     THIRD COUNTRY REMOVAL WITHOUT OPPORTUNITY FOR PROTECTION
        8 U.S.C. § 1231(b)(3) AND THE CONVENTION AGAINST TORTURE
                                (Plaintiff Abrego Garcia)

       196.     Plaintiffs incorporate the foregoing paragraphs 1-144 by reference.

       197.     In Abrego Garcia, the Supreme Court ordered that Defendants “ensure that [Mr.

Abrego Garcia’s] case is handled as it would have been had he not been improperly sent to El

Salvador.” Noem, 145 S. Ct. at 1018. As Justice Sotomayor explained in her concurrence, this

means Defendants “must also comply with [their] obligations under the Convention Against

Torture.”

       198.     The Convention Against Torture, as implemented in U.S. law, prohibits Defendants

from removing an individual to any country where such individual is more likely than not to face

torture by or at the acquiescence of the government. See Foreign Affairs Reform and Restructuring

Act of 1998, Pub. L. No. 105-277, § 2242, 112 Stat. 2681, 2681-822 (1998) (codified at 8 U.S.C.

§ 1231 note); 8 C.F.R. §§ 1208.16(c), 1208.18. This prohibition extends to chain refoulement—

the practice of deporting someone to a country which will in turn deport that person to be tortured

elsewhere. See 8 C.F.R. § 1208.18(a)(1); see also Murillo Morocho v. Garland, 80 F.4th 61, 71

(1st Cir. 2023) (vacating decision denying CAT protection where the Board of Immigration

Appeals failed to properly consider risk of torture by non-state actors).




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          199.   For an individual with an order of withholding of removal to a particular country,

like Plaintiff Abrego Garcia, Defendants can only remove him to another country if he first

receives notice and an opportunity to apply for protection from removal to that third country. See

8 U.S.C. § 1231(b)(3)(A); see also Andriasian v. INS, 180 F.3d 1033, 1041 (9th Cir. 1999); Kossov

v. INS, 132 F.3d 405, 408-09 (7th Cir. 1998).

          200.   Plaintiff Abrego Garcia has no claim to citizenship or permanent residence in any

country other than El Salvador. Accordingly, any third country to which he might be deported

would, in turn, likely deport him to El Salvador, where it has already been held that he faces a

substantial risk of torture at the hands of or with the acquiescence of the Salvadoran government.

          201.   Defendants have repeatedly stated their intent to remove Mr. Abrego Garcia to a

third country. However, they have refused to identify which country they propose to remove him

to, thereby denying him the opportunity to seek protection from removal to that country as required

by law.

          202.   Plaintiff Abrego Garcia could face persecution or torture if removed directly to

various other countries, including but not limited to countries with notorious human rights abuses

like Libya, South Sudan, and Eritrea. Without knowing which country Defendants intend to try to

remove him to, Plaintiff Abrego Garcia cannot prepare or file an application for protection.

          203.   As relief, Plaintiffs request an order from this Court that Defendants may not

remove Mr. Abrego Garcia from the continental United States without first providing him and his

counsel with written notice of the specific country they intend to remove him to, and a reasonable

period of time—which Plaintiffs respectfully suggest is ten days—to file an application for relief

under, among other things, the withholding of removal statute and the Convention Against Torture

with respect to such country.



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                                   REQUEST FOR RELIEF

       Plaintiffs pray for judgment against Defendants and respectfully request that the Court

enters an order:

       a)      Declaring that Defendants’ actions, as set forth herein, violated the laws of the

               United States and the Fifth Amendment to the U.S. Constitution;

       b)      Immediately ordering Defendants to restore the status quo ante, which includes

               returning Abrego Garcia to Maryland, where he was before being picked up by

               DHS agents in March, 2025;

       c)      Issue a writ of habeas corpus ad testificandum, ordering that Plaintiff Abrego

               Garcia be brought before this Court for a habeas corpus hearing. At the habeas

               corpus hearing, this Court should order Defendants to show cause why continued

               detention is lawfully permissible; and if they cannot meet their burden of so

               showing, issue a writ of habeas corpus and order Plaintiff Abrego Garcia’s

               immediate release from custody;

       d)      Order that Defendants return Abrego Garcia to his prior Order of Supervision;

       c)      Granting Plaintiffs costs and fees under the Equal Access to Justice Act; and

       d)      Granting such other relief at law and in equity as justice may require.




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Dated: July 2, 2025

                                         /s/ Jonathan G. Cooper
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